                                                                               Case 6:21-bk-12821-SY     Doc 244 Filed 01/20/22 Entered 01/20/22 17:51:43          Desc
                                                                                                          Main Document     Page 1 of 5


                                                                                1 WEILAND GOLDEN GOODRICH LLP
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                                                                                  Ryan W. Beall, State Bar No. 313774
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                                                                                  650 Town Center Drive, Suite 600
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                                                                                  Telephone     714-966-1000
                                                                                5 Facsimile     714-966-1002

                                                                                6 Counsel for Debtor
                                                                                  Western Community Energy
                                                                                7

                                                                                8                          UNITED STATES BANKRUPTCY COURT
                                                                                9                           CENTRAL DISTRICT OF CALIFORNIA
                                                                               10                                   RIVERSIDE DIVISION
                                                                               11 In re                                         Case No. 6:21-bk-12821-SY
                                                                               12 WESTERN COMMUNITY ENERGY,                     Chapter 9
                                                                               13                             Debtor.           NOTICE OF HEARING ON MOTION FOR
Weiland Golden Goodrich LLP




                                                                                                                                ORDER APPROVING SETTLEMENT
                                                                               14                                               BETWEEN DEBTOR AND SOUTHERN
                         T e l 7 14- 9 66- 1 0 00 F a x 7 1 4- 9 6 6- 1 0 02




                                                                                                                                CALIFORNIA EDISON PURSUANT TO
                            65 0 T o w n Ce nt er Dr iv e, Su i te 6 0 0
                               Cos ta Mes a, C a l if or n i a 9 26 2 6




                                                                               15                                               FEDERAL RULE OF BANKRUPTCY
                                                                                                                                PROCEDURE 9019
                                                                               16
                                                                                                                                Hearing Date, Time and Location:
                                                                               17                                               Date:   February 10, 2022
                                                                                                                                Time: 1:30 p.m.
                                                                               18
                                                                                                                                Place: 3420 Twelfth Street
                                                                               19                                                       Courtroom 302
                                                                                                                                        Riverside, CA 92501
                                                                               20

                                                                               21 TO ALL INTERESTED PARTIES:

                                                                               22           PLEASE TAKE NOTICE that on February 10, 2022, at 1:30 p.m., or as soon
                                                                               23 thereafter as the matter may be heard, the Court will conduct a hearing ("Hearing") on the

                                                                               24 Motion for Order Approving Settlement Between Debtor and Southern California Edison

                                                                               25 Pursuant to Federal Rule of Bankruptcy Procedure 9019 ("Motion") filed by Western

                                                                               26 Community Energy ("Debtor"). In the Motion, the Debtor seeks an order approving a

                                                                               27 settlement and release agreement ("Agreement") entered into between the Debtor and

                                                                               28 Southern California Edison ("SCE") which will settle SCE’s claims against the Debtor and
                                                                                    1356445.1                                               NOTICE OF HEARING ON MOTION TO
                                                                                                                                                      APPROVE COMPROMISE
                                                                               Case 6:21-bk-12821-SY      Doc 244 Filed 01/20/22 Entered 01/20/22 17:51:43         Desc
                                                                                                           Main Document     Page 2 of 5


                                                                                1 resolve litigation between the Debtor, SCE, and Barclays Bank PLC (“Barclays”). If the

                                                                                2 Agreement is approved, then among other things, (1) Debtor will remit $6,000,000 to SCE,

                                                                                3 (2) Debtor will assume and assign Net Energy Metering contracts to SCE, with Debtor

                                                                                4 paying the cure costs (estimated to be $850,000) to SCE to be distributed to Net Energy

                                                                                5 Metering contract counterparties, (3) Debtor will assign all accounts receivable to SCE

                                                                                6 free and clear of liens, claims, encumbrances, and interests, (4) SCE will be allowed a

                                                                                7 general unsecured claim in the amount of $18,690,322.04, subject to reduction for funds

                                                                                8 received from the State of California (anticipated to be $2,552,130), (5) SCE will be

                                                                                9 deemed to have ceased servicing as of October 31, 2021, and (6) Debtor and SCE will

                                                                               10 withdraw or dismiss their pending proceedings against each other.

                                                                               11           The Motion, a copy of which has been served concurrently herewith, is based upon

                                                                               12 the declarations of Andrew Ruiz and David M. Goodrich, the record in this case, all

                                                                               13 judicially noticeable facts and all evidence, arguments and representations made at or
Weiland Golden Goodrich LLP




                                                                               14 prior to the hearing on the Motion.
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                                                                               15           PLEASE TAKE FURTHER NOTICE that any response to the Motion must conform

                                                                               16 with Local Bankruptcy Rule 9013-1(f)(1), must be filed with the Bankruptcy Court no less

                                                                               17 than 14 days prior to the above hearing date, and must be served no less than 14 days

                                                                               18 prior to the above hearing date upon (i) the Debtor’s counsel of record, Weiland Golden

                                                                               19 Goodrich LLP, 650 Town Center Drive, Suite 600, Costa Mesa, CA 92626, Attention:

                                                                               20 David M. Goodrich, fax (714) 966-1002, dgoodrich@wgllp.com, and (ii) the Office of the

                                                                               21 United States Trustee. Pursuant to Local Bankruptcy Rule 9013-1(h), the failure to timely

                                                                               22 file and serve an opposition to the Motion may be deemed by the Court to be consent to

                                                                               23 the relief requested in the Motion.

                                                                               24           PLEASE TAKE FURTHER NOTICE that appearances may be made either in

                                                                               25 person or by telephone through the toll-free AT&T conference line. Telephonic

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                                                                                    1356445.1                                   2           NOTICE OF HEARING ON MOTION TO
                                                                                                                                                      APPROVE COMPROMISE
                                                                               Case 6:21-bk-12821-SY    Doc 244 Filed 01/20/22 Entered 01/20/22 17:51:43         Desc
                                                                                                         Main Document     Page 3 of 5


                                                                                1 appearances must be registered by noon of the day prior to the hearing. Judge Yun’s

                                                                                2 telephonic appearance procedures may be viewed at https://www.cacb.uscourts.

                                                                                3 gov/sites/cacb/files/documents/judges/instructions/SY_TelephonicAppearancesProcedure

                                                                                4 s.pdf.

                                                                                5 Dated: January 20, 2022                WEILAND GOLDEN GOODRICH LLP

                                                                                6
                                                                                                                         By:       /s/ David M. Goodrich_________________
                                                                                7                                              DAVID M. GOODRICH
                                                                                                                               RYAN W. BEALL
                                                                                8                                              Counsel for Chapter 9 Debtor
                                                                                                                               Western Community Energy
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Weiland Golden Goodrich LLP




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                                                                                    1356445.1                                  3           NOTICE OF HEARING ON MOTION TO
                                                                                                                                                     APPROVE COMPROMISE
        Case 6:21-bk-12821-SY                     Doc 244 Filed 01/20/22 Entered 01/20/22 17:51:43                                      Desc
                                                   Main Document     Page 4 of 5



                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
                                            650 Town Center Drive, Suite 600
                                               Costa Mesa, California 92626

A true and correct copy of the foregoing document entitled (specify): Notice of Hearing on Motion For Order Approving
Settlement Between Debtor And Southern California Edison Pursuant To Federal Rule Of Bankruptcy Procedure 9019;
And Declarations Of Andrew Ruiz And David M. Goodrich In Support Thereof will be served or was served (a) on the
judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
January 20, 2022, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that
the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:



                                                                                            Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) January 20, 2022, I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.




                                                                                            Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) January 20, 2022, I served
the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.

SERVED BY EMAIL:
Joel Moss - joel.moss@shearman.com
Kelly McDonald - Kelly.mcdonald@barclays.com

                                                                                            Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 1/20/2022                      Gloria Estrada
 Date                           Printed Name                                                    Signature




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
        Case 6:21-bk-12821-SY                     Doc 244 Filed 01/20/22 Entered 01/20/22 17:51:43                                      Desc
                                                   Main Document     Page 5 of 5


TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF):
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Marc J Winthrop mwinthrop@wghlawyers.com, jmartinez@wghlawyers.com
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Nahal Zarnighian zarnighiann@ballardspahr.com




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
